       Third District Court of Appeal
                                State of Florida

                         Opinion filed August 21, 2024.
        Not final until disposition of timely filed motion for rehearing.

                             ________________

                              No. 3D24-0747
                    Lower Tribunal No. 21-24025-CA-01
                           ________________


                Greater Miami Expressway Agency, et al.,
                               Petitioners,

                                      vs.

           Miami-Dade County Expressway Authority, et al.,
                          Respondents.



     On Petition for Writ of Certiorari from the Circuit Court for Miami-Dade
County, Lisa S. Walsh, Judge.

       Lawson Huck Gonzalez, PLLC, and Alan Lawson, Paul C. Huck, Jr.,
Jason Gonzalez, Jessica Slatten and Raymond Cordova (Tallahassee), for
petitioners.

      Stearns Weaver Miller Weissler Alhadeff &amp; Sitterson, P.A., and
Eugene E. Stearns, Glenn Burhans, Jr., and Melanie R. Leitman
(Tallahassee); DeLeon &amp; DeLeon, and Kirk D. DeLeon, for respondent
Miami-Dade Expressway Authority; Geraldine Bonzon-Keenan, Miami-Dade
County Attorney, and Michael B. Valdes and Miguel A. Gonzalez, Assistant
County Attorneys, for respondent Miami-Dade County.
      Ryan Newman, General Counsel, and Nicholas J.P. Meros, Deputy
General Counsel (Tallahassee), for Governor Ron DeSantis; David
Axelman, General Counsel, and Hannah DuShane, Deputy General Counsel
(Tallahassee), for The Florida House of Representatives; Carlos A. Rey,
General Counsel, and Oliver Lawrence Thomas, Deputy General Counsel
(Tallahassee), for The Florida Senate, as amici curiae.


Before SCALES, LOBREE and BOKOR, JJ.

     PER CURIAM.

     Petitioners Greater Miami Expressway Authority, Marili Cancio,

Richard Blanco, Stacy Miller, Rudolfo Pages, and Fatima Perez (collectively,

“GMX”) seek certiorari relief from an April 25, 2024 trial court order that

denied GMX’s motion in limine and for protective order to prohibit discovery

related to an act adopted by the Florida Legislature in 2023, that the

underlying litigation seeks to void.1 GMX’s principal argument is that,

because the underlying dispute involves purely legal questions, no discovery


1
   In establishing GMX, the Legislature sought to dissolve the Miami-Dade
County Expressway Authority (“MDX”), which hitherto had operated the
expressways in Miami-Dade County. The legislation established GMX’s
jurisdiction as including both the entirety of Miami-Dade County and a portion
of Monroe County. Miami-Dade County (the “County”) and MDX regard this
legislation as an unconstitutional usurpation of the County’s home rule
powers. The County then enacted an ordinance declaring the state statute a
nullity and re-establishing MDX. MDX’s action in circuit court – to which the
County became an intervenor-plaintiff – seeking declaratory and injunctive
relief against GMX, asserts that the legislation’s inclusion of a portion of
Monroe County made it an impermissible special law. This is the underlying
litigation from which springs the discovery dispute of GMX’s certiorari
petition. We express no opinion on the merits of the underlying litigation.

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in this case is necessary; and yet, the trial court’s discovery order purportedly

grants respondents MDX and the County carte blanche discovery of

irrelevant material.



      “To prevail in its petition for a writ of certiorari, a party must

demonstrate that the contested order constitutes (1) a departure from the

essential requirements of the law, (2) resulting in material injury for the

remainder of the case, (3) that cannot be corrected on post-judgment

appeal.” Damsky v. Univ. of Miami, 152 So. 3d 789, 792 (Fla. 3d DCA 2014).

      While GMX’s argument may have bearing on the issue of whether the

trial court departed from the essential requirements of law, on certiorari

review, we do not reach that prong of the analysis unless and until GMX first

establishes certiorari’s jurisdictional prong: whether the challenged order

results in irreparable harm that cannot be remedied on appeal. Id. (“Under

the high standard for issuance of certiorari, the first and necessary condition

is demonstration of irreparable harm. Mere legal error without irreparable

harm, even a departure from the essential requirements of law, while

appealable at the end of the case, is not a basis for the issuance of a writ of

certiorari.”). Although GMX casts all or most discovery here as irrelevant in

that there need be no inquiry into the Legislature’s objective in enacting the



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statute, the trial court’s denial of the motion in limine and protective order is

not perforce a grant of carte blanche irrelevant discovery and, therefore, is

not in itself materially injurious to GMX. See Allstate Ins. Co. v. Langston,

655 So. 2d 91, 94-95 (Fla. 1995). Indeed, MDX and the County’s intended

discovery appears relevant to the central issue of the dispute: whether the

statute is an impermissible special law. See Oakley Transp. Grp., Inc. v.

Shinault, 341 So 3d 440, 442 (Fla. 3d DCA 2022) (“Because the subject

discovery requests are reasonably calculated to lead to the discovery of

admissible evidence, [petitioner] cannot establish the requisite irreparable

harm for granting certiorari relief.”).

      GMX is at a structural disadvantage in this regard as a public entity.

Establishing irreparable harm here presents a special challenge for GMX

because its records are generally subject to Florida’s Public Records law,

chapter 119 of the Florida Statutes. GMX has not asserted (either below or in

this Court) that any of the discovery sought by the County and MDX are

subject to an exception to the Public Records Law or is otherwise privileged

or confidential. See Nat’l Youth Advocacy Program v. K.G., 47 Fla. L. Weekly

D2234, 2022 WL 16628915, at *1 (Fla. 1st DCA Nov. 2, 2022).

      We, therefore, are compelled to dismiss GMX’s petition for lack of

jurisdiction because GMX has failed to establish how the challenged order



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would result in irreparable harm.2 See Fla. Power &amp; Light Co. v. Cook, 277

So. 3d 263, 265 (Fla. 3d DCA 2019) (holding that a party that moved for

protective orders from discovery failed to establish irreparable harm upon

denial of its motion).

      Petition dismissed.




2
  This opinion decides the narrow issue of whether the denial of the motion
in limine and protective order triggers certiorari relief under the
circumstances present here. We take no position as to the propriety of any
protective order or other such relief aimed at specific discovery requests
once those requests are made.

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